Case 2:05-cr-20130-.]DB Document 25 Filed 06/30/05 Pagelon Page|D

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IN THE UNITED STATES DISTRICT cOURT
FOR THE wESTERN DISTRICT OF TENNESSEE 05 JU'N 30 PH 3=55
wESTERN DIVISION

RDW$MIDUD
USDBWHHCU£N

UNITED STATES OF AMERICA. CFH¢ME§HB

)
)
Plaintiff, )
) Cr. NO. _05-20130-B
vs. )

)
RAFAT JAMAL MAWLAWI, )

)

)

Defendant.

 

ORDER GRANTING CONTINUANCE

 

The United States has moved for a continuance of July ll,

 

 

2005.
For good cause Shown, it is so ORDERED this:zD day of June,
2005. \§\
// ( ,§LF"\
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Uni d States District Judge

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Honorable J. Breen
US DISTRICT COURT

